
PER CURIAM:
Appellants/Debtors Robert and Jana Antonelli appeal the district court’s affir-mance of the bankruptcy court’s grant of summary judgment against the Antonellis, which denied the discharge of their debts through bankruptcy pursuant to 11 U.S.C. § 727(a)(2).
Because there is substantial evidence in the record that the creditor, Karl C. Knight, has been hindered or delayed in garnishing funds of the Antonellis, we affirm the district court’s judgment affirming the bankruptcy court’s grant of summary judgment, which denied the discharge of the Antonelli’s debts through bankruptcy pursuant to 11 U.S.C. § 727(a)(2).
AFFIRMED.
